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                                                                         [)jN;.a.·~··               '. . _
                                                                    BY--~/                    -~ •-~
                    IN THE UNITED STATES DISTRICT COURJ'~1~1's~\t.o. ofVA
                    FOR THE WESTERN DISTRICT OF VIRGINIA  .,
                             DANVILLE DIVISION

    UNITED STATES OF AMERICA                 )
                                             )
                                             ) Case No.: 4:18-cr-00011
    v.                                     . )
                                             )
                                             )
    MARCUS JAY DAVIS, et al.,                )
                                             ) By: Michael F. Urbanski
         Defendants.                         ) Chief United States District Judge

                                            ORDER

         We the jury return the following verdicts:




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                                        COUNT1
                                     (RICO Conspiracy)

    As to Count One, we unanimously find defendant MARCUS JAY DAVIS:

          Not Guilty

    As to Count One, we unanimously find beyond a reasonable doubt MARCUS JAY DAVIS:

          Guilty

   If guilty as to Count One, we unanimously find beyond a reasonable doubt that MARCUS
   JAY DAVIS agreed that one of the racketeering acts, that he or some other member of the
   conspiracy would commit, was the murder of Christopher Motley.

          Agree           /
          Disagree




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                                           COUNT11
     (Using, Carrying, Brandishing, or Discharging a Firearm During and in Relation to a Crime
                                            of Violence)

   As to Count Eleven, we unanimously find defendant MARCUS JAY DAVIS:

          Not Guilty

   As to Count Eleven, we unanimously find beyond a reasonable doubt defendant MARCUS
   JAY DAVIS:

          Guilty             ✓




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                                           COUNT12
                    (Violent Crime in Aid of Racketeering: Attempted Murder)

    As to Count Twelve, we unanimously find defendant MARCUS JAY DAVIS:

          Not Guilty:

    As to Count Twelve, we unanimously find beyond a reasonable doubt defendant MARCUS
    JAY DAVIS:

          Guilty:          /




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                                           COUNT13
    (Using, Carrying, Brandishing, or Discharging a Firearm During and in Relation to a Crime
                                           of Violence)

   As to Count Thirteen, we unanimously find defendant MARCUS JAY DAVIS:

          Not Guilty:

   As to Count Thirteen, we unanimously find beyond a reasonable doubt MARCUS JAY
   DAVIS:

          Guilty:                /
   If you found the defendant MARCUS JAY DAVIS guilty of Count Thirteen, then you must
   also decide unanimously, beyond a reasonable doubt, what act was done with the firearm for
   which you have found this defendant guilty. Check all that apply:

          1.        Used:            ✓
          2.        Carried:         ✓
          3.        Brandished       ✓
          4.        Discharged       ✓




   This done and signed at Danville, Virginia, the   /   2 /.-f1   day of November, 2019.




                                                                   FOREPERSON



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